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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

SHAWN B. ECHOLS,
                                                             No. 1:07-CR-213
                Petitioner,
                                                             Honorable Paul L. Maloney
v.                                                           Chief Judge

UNITED STATES OF AMERICA,

            Respondent.
_____________________________/

                         ORDER GRANTING EXTENSION OF TIME

        The United States has requested additional time in order that defendant’s former counsel,

Joseph Brehler, can provide the United States with an affidavit responding to the allegations of

ineffective assistance of counsel alleged by defendant and thereafter for the United States to

prepare its response to the defendant’s motion pursuant to 28 U.S.C. § 2255.

        IT IS HEREBY ORDERED that defendant’s former counsel, Joseph Brehler, will prepare

and provide the United States with an affidavit responding to his former client’s allegations by

December 18, 2009.

        IT IS FURTHER ORDERED that the United States will have until January 15, 2010 to

file its response.



Dated: November 30, 2009                       /s/ Paul L. Maloney
                                              HONORABLE PAUL L. MALONEY
                                              Chief United States District Judge
                                              Western District of Michigan
